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                                                 Exhibit B
        Additional Witnesses from Whom Defendant’s May Offer Deposition Testimony∗


    •    John Bendoraitis
    •    Adam Decaire
    •    Thomas Draper
    •    Dave Fintzen
    •    DeAnne Gabel
    •    Daniel Gallagher
    •    Alla Gorelik
    •    Kevin Healy
    •    Robert Land
    •    Andrea Lusso
    •    Eric Monaghan
    •    Jayne O’Brien
    •    Jonathan Weiner




∗
  Defendants and certain third parties were deposed through representative witnesses pursuant to Rule 30(b)(6).
Defendants may offer testimony from witnesses identified in this exhibit or Section VIII.B of this proposed order
that was given in both individual and Rule 30(b)(6) capacities.
